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AO 245B (Rev. 02/18) Judgment in a Criminal Case

 

Sheet 1
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UNITED STATES DisTRiCT CoUi§’fW’C§-,?_§;j:§*tt@"r
District of Vermont wm OCT _3 AH 8_ 52
lUNI'I`ED STATES OF AMERICA JUDGMENT IN A CRIl\/H_ b SE

  
  

V.

  

§Y___,,__m
Case Number: 5:15-0r-€1§4;4§;'f`§' [~: »;M

-’i»»\‘-é"\l\

MICHAEL BROCKENBAUGH

USM Number: 25304-014
Michae| Shk|ar, Esq.

 

VV\/VVVVVV

, De£mdant‘s Attomey
THE DEFENDANT:

Mpleaded guihy to count(s) 1s of the Fourth Superseding |ndictment

 

|:| pleaded nolo contendere to count(s)

 

which was accepted by the court.
|:| was found guilty on count(s)

 

after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Q_tgi_r_i_t
21 ;846,841(&)(1),(b)(1)(A) conspiracy to Discri§hr§one Kiiogram or Mpregf§ijér¢in and
280 Grams or More of Cocaine Base 9/30/2015 ls

The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

|:| The defendant has been found not guilty on count(s)

 

lzl Count(s) 1, 25-3$ m is 121 are dismissed on the motion of the United States.

 

_ _ lt is ordered that the defendant must notify the Un_ited States attorney for this district within 30 da s of any ch ge of name, residence,
or mailing address until all fines, restitution,_costs, and special assessments imposed by this Judgment are fu y paid. lf orlgered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances

10/2/2018

 

Date of lrnposition of]

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JUDGMENT ENTERE_D oN DoCKET
DATE; ZU~ j ' $l

Christina Reiss, U.S. District Judge

 

Name and 'I`itle of Judge

10/2/2018

 

Date

 

 

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AO 245B (Rev. 02/18) Judgment in Criminal Case
Sheet 2 # Imprisonment

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DEFENDANT: M|CHAEL BROCKENBAUGH
CASE NUMBER: 5:15-cr-114-5

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

168 months

121 The court makes the following recommendations to the Bureau of Prisons:

that the defendant be incarcerated at a medical facility due to significant mobility, pain, and health issues as outlined in the presentence
report If this setting is not available, the court recommends that the defendant be incarcerated as close to Connecticut as possible, to
facilitate visit with family, in the lowest security setting available to him. See next page for RDAP recommendation.

121 The defendant is remanded to the custody of the United States Marshal.

l:l The defendant shall surrender to the United States Marshal for this district:

l:l at l:l a.m. l:l p.m. on

 

l:l as notified by the United States Marshal.

l:l The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l:l before 2 p.in. on

 

l:l as notified by the United States Marshal.

l:l as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
l have executed this judgment as follows:
Defendant delivered on to __
at , With a certified copy of this judgment
UNI'I`ED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

 

 

 

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AO 245B (Rev. 02/18) Judgment in a Criminal Case
Shcct 2A lmprisonment

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DEFENDANT: M|CHAEL BROCKENBAUGH
CASE NUMBER: 5;15-Cr-114-5

ADDITIONAL IMPRISONMENT TERMS

The court recommends to the Federal Bureau of Prisons that the defendant be allowed to participate in the Bureau of Prison’s 500-hour
residential drug and alcohol rehabilitation program. lf this program is not available for any reason, the defendant should be allowed to
participate in the non-residential substance abuse treatment program offered.

 

 

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AO 245B (Rev. 02/18) Judgment in a Criminal Case
Sheet 3 - Supervised Release

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DEFENDANT; M|CHAEL BROCKENBAUGH
CASE NUMBER: 5:15-cr-114-5

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :

5 years

MANDATORY CONDITIONS

1_ You must not commit another federal, state or local crime.
Z. You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.
13 The above drug testing condition is suspended, based on the court‘s determination that you
pose a low risk of future substance abuse (check ifapplicable)
4, [j You must make restitution in accordance With 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitutiOn. (check ifapp/l'cab/e)

5. M You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

6- E You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)

7 , E You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

 

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Sheet 3A _ Supervised Releasc

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DEFENDANT; M|CHAEL BROCKENB/-\UGH
CASE NUMBER: 5:15-Cr-114-5

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5 . You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. lf you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. lf you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within ?2 hours of becoming
aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. lf you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.c., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

l l. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overvz'ew of Probation and Supervised
Release Condl`tl`ons, available at: Www.uscourts.gov.

Defendant's Signature Date

 

 

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Sheet 3B - Supervised Release

 

 

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DEFENDANT: M|CHAEL BROCKENBAUGH
CASE NUMBER: 5:15-Cr-‘1‘14-5

ADDITIONAL SUPERVISED RELEASE TERMS

You must comply with the standard conditions of supervision recommended by the Sentencing Commission, as set forth in Part G of
the presentence report with the exception of condition (l) listed in paragraph 181, on page 33, of the presentence report These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. Section 1030(e)(1)),
other electronic communications or data storage devices or media, or office, to a search conducted by a United States probation officer.
Failure to submit to a search may be grounds for revocation of release. You must warn any other occupants that the premises may be
subject to searches pursuant to this condition. An officer may conduct a search pursuant to this condition only when reasonable
suspicion exists that you have violated a condition of supervision and that the areas to be searched contain evidence of this violation.
Any search must be conducted at a reasonable time and in a reasonable manner.

You must participate in a program approved by the United States Probation Office for substance abuse, which program may include
testing to determine whether you have reverted to the use of drugs or alcohol. You shall contribute to the cost of services rendered in
an amount to be determined by the probation officer based on ability to pay or the availability of third party payment You must refrain
from the use of alcohol and other intoxicants during and after treatment

 

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AO 245B (Rev. 02/18) Judgment in a Criminal Case
Sheet 5 - Criminal Monetary Penalties

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DEFENDANT: M|CHAEL BROCKENBAUGH
CASE NUMBER: 5215-cr-‘| 14-5

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Restitution
TOTALS $ 100.00 $ $ $
El The determination Of restitution is deferred until . An Amended Judgment in a Criminal Case (40 245C) Will be entered

after such determination
[l The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each pa ee shall receive an approximatel{]progortioned ayment, unless specified otherwise in
the priority order or percentage payment column elow. However, pursuant to 18 S . § 366461) , all nonfederal victims must be paid
before the United States is paid.

 

Name of Payee Total Loss** Restitution Ordered Pri ritv or Percentz_\gg

 

»,»`t 4
\ékz`lv'w a

TOTALS $ O-OO $ 0-00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g). `

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
E the interest requirement is Waived for the |:| fine l:] restitution.

D the interest requirement for the [] fine l:l restitution is modified as follows:

* Justice for Victims of Traffickin Act of 2015, P_ub. L. No. 114-22.
** Findingsv for the total amount o losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after Septernber 13, 1994, but before April 23, 1996.

 

 

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2tl}rc-a(?eOllA,-cr Document 308 Filed 10/03/18 Page 8 of 8
Sheet 6 j Schedule of Payments
Judgment 4 Page 8 Of

DEFENDANT: M|CHAEL BROCKENBAUGH
CASE NUMBER: 5:15-Cr-114-5

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A Zl

B l:l
C 113
D 113
E 113
F 111

Unless _the court has expressly ordered otherwise, if this judgment imposes imprisonment, pa _
the period of imprisonment All criminal monetary penalties, except those payments ma e through the Federal Bureau of Prisons’ Inmate

Lump sum payment of $ 100-00 due immediately, balance due

|:] not later than ,or
[:] in accordance with § C, [:] D, [:] E, or [:] Fbelow; or

Payment to begin immediately (may be combined with [:] C, [1 D, or l:] F below); or

Payment in equal (e.g., weekly, monihly, quarterly) installments of $ over a period of
` (e.g., months oryears), tO COmmence (e.g., 30 or 60 days) after the date OfthiS judgment; Or

Payment in equal (e.g., weekly, monrhly, quarrerly) installments of S over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

Special instructions regarding the payment of criminal monetary penalties:

Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[1 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

[l The defendant shall pay the cost of prosecution.

[1 The defendant shall pay the following court cost(s):

1:1 The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order1 (l) assessment (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine

interest, (6) community restitution, (7) JVTA assessment (8) penalties, and (9) costs, including cost of prosecution and court costs.

ent of criminal monetary penalties is due during

